Case: 1:19-cv-05770 Document #: 153 Filed: 07/16/21 Page 1 of 1 PageID #:1808

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

JP Morgan Chase Bank, National Association
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:19−cv−05770
                                                                      Honorable Thomas M.
                                                                      Durkin
Federal Deposit Insurance Corporation, As Receiver
for Washington Federal Bank for Savings, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 16, 2021:


        MINUTE entry before the Honorable Heather K. McShain: The Court has
reviewed the parties' joint status report [152]. Further joint status report on the same topics
as the present status report due on or before 08/30/2021. The parties should be mindful
that, notwithstanding any preference to take depositions in person, they cannot expect this
in the current environment, nor can they reasonably expect the case to be put on hold until
that changes. To be more specific, the parties are to assume that all depositions will have
to be taken by remote means (unless both sides and the witness consent to an in−person
deposition) and are to plan accordingly. Delay due to a desire to take in−person
depositions at a later date will not be a basis for extending any discovery deadline beyond
the current deadline. The parties may contact chambers at any time (via email to
Chambers_McShain@ilnd.uscourts.gov) if they would like the Court's assistance with
settlement. Mailed notice. (pk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
